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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF FLORIDA
                           MIAMI DIVISION

                   Case No. 22-MJ-03273-DAMIAN (SEALED)




UNITED STATES OF AMERICA,
         Plaintiff,


V.



AARON THOMAS MITCHELL,
        Defendant(s).
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                                  ORDER

      THIS CAUSE came before the Court and pursuant to proceedings it is

thereupon, PURSUANT TO THE ARREST OF THE ABOVE NAMED

DEFENDANT, THIS CASE IS HEREBY UNSEALED.

DONE AND ORDERED at Miami, Florida.



Dated: 7/27/2022




                             -yy),Q
                             Melissa Damian
                                            ..
                             UNITED STATES MAGISTRATE JUDGE
